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1
        John Doe, Pro se
2

3             UNITED STATES COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
4

5

6
                                                            EARLY RESPONSE TO LIKELY
7                                                           COUNTERARGUMENTS ON
                                                            CONSTITUTIONAL AND
8           John Doe,                                       STATUTORY QUALIFICATIONS
                                                            FOR THE COMMANDER-IN-CHIEF
9                           Plaintiff,                      AND/OR PRESIDENCY ROLE ON
10
                    vs .                                    ADVANCED NATIONAL SECURITY
                                                            EXCEPTION
11          President Donald J. Trump
                          Defendant                         MOTION TO ATTAIN OR
12                                                          PRESERVE THE RIGHT TO REPLY
                                                            AS A PRO SE TO ANY INITIAL
13
                                                            DISMISSAL BEFORE HEADING TO
14                                                          APPEALS

15
                 MOTION TO RESPOND TO ANTICIPATED COUNTERARGUMENTS:
16
         EARLY RESPONSE TO LIKELY COUNTERARGUMENTS ON CONSTITUTIONAL
17

18        AND STATUTORY QUALIFICATIONS FOR THE COMMANDER-IN-CHIEF AND

19           PRESIDENCY ROLE ON ADVANCED NATIONAL SECURITY EXCEPTION

20            It has come to my attention that it is "considered" "established" in the law that
21
       Congressional, Presidential, and Vice-Presidential qualifications for office can not be added by
22
       Congress by statute. For instance, in Powell v McCormack (1969), the Warren Supreme Court
23
       55 .6 years ago found that Adam Clayton Powell, an elected Congressional Representative from
24
       New York, could not be "excluded" from serving in Congress given that he had been elected
25

26      under any additional Congressionally-mandated qualification, though he could be expelled after

27     being seated. By that, and by Eugene V. Debs historic Ol 920 CE run for the Presidency as the

28      Socialist Party Candidate from jail as a "free speech" felon , the presumption has been that

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l
        Congress and the Courts can not prohibit anyone elected who meets the "exhaustive" list of
2
        qualifications in the Constitution regarding the Presidency (natural born citizen over age 35.0
3
        and resident in these United States for 14 years) from occupying the highest position in the
4

5       chain-of-command of our Armed Forces.

6              I argue point-blank boldly that such a case does not apply or does not apply fully to the

7       Executive Branch Commander-in-Chief role in the extremely special domain of national security.
8
        The list of qualifications in the Constitution is not fully exhaustive or final , at least not as long as
9
        the US Constitution doesn't acknowledge and bend toward the underlying and even more
10
        fundamental and universal Anatomic Constitution (including the observable thermodynamic laws
11
        of age-based physical entropy) we all struggle with in our daily lives as we and our loved and
12

13      admired ones age. I argue that Congress in conjunction with interpretation and supportive

14      enforcement by the Courts can set minimum physical qualifications for military officers of any

15      rank including both minimum and maximum age qualifications, and the Commander-in-Chief is
16
        subject to such military qualifications as an Atlassian civilian at the head of the
17
        chain-of-command, serving in her hybrid civilian and military role . The express military service
18
        qualification for a Commander-in-Chief is the same as the highest possible officer in the Armed
19

20      Forces, which is now set to mandatory retirement at age 68.0 under 10 U.S. Code§ 1253.

21             The statute in 10 U.S. Code § 1253 clearly precludes any service beyond age 68 .0 in any

22      chain-of-command role, even for general or flag officer chaplains who may be in a supplementary I
23
        role and not have as much direct chain-of-command responsibility over life and death force
24
        readiness decision-making. Retirement at 68.0 in the military is a hard rule with no available
25
        exceptions or exemptions. So it should be for the head of our Armed Forces, the
26
        Commander-in-Chief, as anyone older than 68.0 imperils the command structure and group
27

28      cohesion of the Armed Forces as age-qualified, health-certified fighting professionals. Presidents 11


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             lack the power to extend the service of five-star generals, and likewise by implication the
    2
             Presidency lacks the power to extend the service of the Commander-in-Chief to the
    3
             not-far-from-serious-disability age of 78.6 that President Donald Trump currently is at.
    4

    5              I argue that Commanders-in-Chief are "regularly commissioned officers" of the military.

    6        They're regularly commissioned once every four years by the Electoral College, in very rough

    7        accordance with the presumptive popular will of general election voters in the 50 States and the
    8
             District of Columbia 1. I understand that the commissioning of the Commander-in-Chief was not
    9
             likely the primary method of "regularly commissioned" office-taking that Congress was
    10
             contemplating when they drafted and passed 10 U.S . Code §1253 , as there is no specific mention
    11
             in the statute of the Commander-in-Chief and perhaps no one's asked the Courts to interpret this
    12

    13       in this way until now, but the plain meaning of the statute in seeking to prevent age-related

    14       decline from creeping into military chain-of-command decision-making, planning, and

    15       action-taking ought to apply all the way up to the very head and central apex of the military's
    16
             chain-of-command . To say otherwise that the Commander-in-Chief is not by inductive argument             II
    17
             included would be an absurd stance to take.
    18
                   Joseph R. Biden was in his Presidential service beyond the age where he could vigorously
    19

    20       reliably confront the full array of our nation's enemies. So is Donald J. Trump. If you believe that

    21       elections are enough to "sanction" age-related cognitive decline in defiance of l 0 U.S. Code

    22       § 1253, the Plaintiff dares the Courts to put that to an ongoing vote by representative federal juries
    23
             or scientific surveys across the country with Joseph Biden, Donald Trump, or Chuck Grassley
    24

1   1fu
     iscussed elsewhere , the Plaintiff has serious qualms about how these
duop  istic Presidential elections are organized and operated by State Secretaries of
SJL6t today , as for lack of pervasive ranked choice " fallback " balloting and Popular
Nati  al rather than Electoral College vote mandate for instance they are not even        I
ctqs to as fair or free as modern ballot counting techniques pragmatically allow ,      I
but   ey are the best effort of a hundred thousand election workers working within      I
a2~   stricted by the systems we have and due largely to their heroic efforts to make I
the best of a bad set of duopolistic rules have a veneer of legitimacy to them .


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           (91.4 years old and currently fourth in Commander-in-Chief chain of succession) as examples of
    2
           Commander-in-Chief candidates beyond military retirement age in need of actual electoral
    3
           supervisory sanction. No such supervisory sanction is accorded to any other regularly
    4

    5      commissioned military officer of any rank. Not even "exceptionally performing" five-star

    6      generals can get approved to work beyond 68 .1 years old under 10 U.S. Code § 1253, as permitted

    7      as a "bona fide occupational qualification reasonably necessary to the normal operation of the
    8
            particular business" (here rendered as "military forces business") by the Age Discrimination in
    9
           Employment Act (ADEA). Donald Trump's body has enough mileage on it where mild cognitive

            impairment is expected and necessarily accepted and physical health breakdowns are increasingly
    11
           common. Everyone else in the military humbly operates by the standard of retirement before age
    12

    13      68.0. The Commander-in-Chief ought to comply to this maximum allowable age standard of 10

    14      U.S. Code § 1253 as well, as a matter of core undelegated, undelegate-able, and underogable

    15      national security overweighing all other concerns, particularly as we have an perfectly (or maybe
    16
            more accurately, imperfectly) good, highly like-minded replacement ready and waiting to assume
    17
           the powers of the Commander-in-Chief: J.D. Vance 2 .
    18
                  Anticipated Objection: But Donald Trump is healthy! His doctor(s) say(s) so!
    19

    20            Is this a serious objection? Flag officers can not have their service extended by producing a

    21     clean bill of health from their doctors and neither should the Commander-in-Chief get such a             11
                                                                                                                     I
    22     pass. Imagine if a state of the United States had a rule that all vehicle drivers over the age of75 .0
    23
           years old should have their licenses taken away and their driving privileges suspended, without
    24
           the option of medical clearance review. But the Governor of the State who is 78 .6 years old
    25
           claims that she's special and unique, and unlike every other driver in the state claims she specially
    26
           deserves the right to drive a potentially deadly vehicle because a doctor in her employ loyal to her
    27

2
 Or allback to House Speaker Mike Johnson or Secretary of State Marco Rubio , as the 11
chain - of - succession should go . Discussed again later .
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       testifies in non-specific writing that she's competent, capable, and trustworthy.. .. unlike every
2
       other human in that state over the age of 75 .0. What a bullshit law and legal exception that would
3
        be, where the Governor (or in this case, the President) is uniquely allowed to defy the predictive
4

5       risk-preventative laws the legislature set to protect life from the decline of overly aged physical

6       anatomy.

7             No number of heavily paid hyperbolic spokesmen with medical degrees can relieve the
8
        doubt 10 U.S. Code§ 1253 casts over the Commander-in-Chiefs capacity to serve at the
9
        supremely advanced super-annuated age of 78.6 years old, over 10-14 years past the forced and
10
        unreviewable mandatory retirement age for any other military officers.
ll
              Let me put this is very stark terms. Even if a "clear and convincing" majority of physicians,
12

13      say 80% of all qualified physicians in the country, were to say that Donald Trump was "fit to

14      serve" as Commander-in-Chief, the reasonable doubt of the remaining 20% or 5% of qualified

15      physicians would surely be enough to bar him from serving under 10 U.S. Code § 1253.
16
              And I don't concede those numbers; I think it's probable that if asked the question fairly at
17
        least 40% of the nation's physicians would consider Trump ineligible to serve as
18
        Commander-in-Chief due to prudent avoidance of age-related decline. I just point these numbers
19

20      out to say that this should be decided not on the basis of what the White House physicians or

21      what Trump's physicians say, and not even based on what a "majority" of physicians say, but like

22      with every other regularly commissioned officer who falls under 10 U.S . Code § 1253 based on
23
        whether there's any "reasonable doubt" about a 78.6 year old's competence to lead the
24
        chain-of-command and prosecute a major extraordinarily complex war today or tomorrow under
25
        the War Powers Resolution of 1973 (50 U.S . Code § 1541-1548), particularly for a sustained
26
        length of 3.9 further grueling years. I believe that there is such reasonable doubt, and I believe
27

28      any jury in South Florida would say so when weighing the risks of letting President Donald


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l
       Trump attempt to defy his age as President Joseph Biden attempted. J.D . Vance is a much better,
2
        less risky, age-qualified choice for Commander-in-Chief.
3
              Also, the notion that Donald Trump successfully passed a complete medical review
4

5       reviewed by the public in our general election balloting is nothing more than factional fictional

6       bullshit demonstrating a lack of concern for the truth. Trump never allowed the press or public to

7       inspect his medical records as the late Honorable John McCain did when he was running for the
8
        Presidency. John McCain in that election would have been in the neighborhood of 72.0 years old,
9
        so he was also age-disqualified I argue under 10 U.S. Code §1253 to seek the Presidency then,
10
        but at least the late Senator McCain made a sincere effort to go through thorough public medical
11
        review in recognition of his advanced age, and notably ultimately in that election the public
12

13      rejected his candidacy in favor of the younger Commander-in-Chief Barack H. Obama who did

14      not have similar age-related medical challenges. Donald Trump was not in "excellent health"

15      compared and relative to a fit 60.0 year old female Presidential candidate like Kamala Harris 18.6
16
        years more junior than President Trump or compared to a fit 40.2 year old male Vice Presidential
17
        candidate like J.D. Vance 38.4 years more junior than President Trump. This Plaintiff believes
18
        that President Trump's attempts to arrogate the flawed authority of a hand-picked physician
19

20      subordinate and loyal to him to "cover and paper over" the deleterious differences in his health

21      status versus J.D. Vance and Kamala Harris (as healthier Commander-in-Chief alternatives) was a

22      decisive and deeply unfair and dishonest public deception in the election that led voters and
23
        electors astray from a fully free and fair election choice. But the Plaintiff argues that President
24
       Donald Trump shouldn't have even been presented as a choice to voters and electors; he should
25
       have been precluded from electoral competition for Commander-in-Chief unconditionally on the
26
        basis of his age, due to the actuality and overwhelming risk of further age-related decline.
27

28            The notion that Donald Trump is as healthy as a younger woman or man like J.D. Vance


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           now is (or Kamala Harris would have been) is built on a carefully maintained edifice of lies. An
    2
           example of that is Donald Trump's tendency to brag about passing a cognitive assessment called
    3
           the Montreal Cognitive Assessment (MoCA). The MoCA is a sick joke if used as a test of
    4

    5      Commander-in-Chief mental fitness and acuity. A copy of it is enclosed. To pass, yo u need to

    6      repeat numbers backward at step intervals and remember a collection of five words like "Person,

    7      Man, Woman, Camera, TV" in order. Here's a quote from CBS News coverage of Trump's
    8
           retelling of his test performance:
    9

    10
                   Mr. Trump explained the memory part of the test, and said his results impressed doctors.
    11

    12
                   "It's like, yo u'll go, 'Person, woman, man, camera, TV'," he said. "So, they'd say, 'Could
    13
                   you repeat that?' So, I said, yeah -    person, woman, man, camera, TV."
    14

    15
                   According to Mr. Trump, he had to recall the phrase again later during the test and was
    16

    17
                   given "extra points" because he said it in order.

    18

    19             He said his Democratic rival Joe Biden should also take the test.

    20             "Honestly, he should take the test," the president said. "In a way, he has an obl igation to
    21
                   because you have to be able to show this country that the person that we're picking as
    22
                   leader is sharp. Because we're dealing with people that want to do very bad things to us." 3
    23

    24
            President Trump defrayed criticism of his mental fitness by asking his voters to rely on his
    25
           MoCA test performance and tried to cast doubt on Biden's mental fitness in the same breath, but
    26
    27
3
 1lf'e son , woman , man , camera , TV : Trump recalls difficulty of recent cognitive
test .' CBS News , July 23 , 2020 .
https : //www . cbsnews . com/news/trump - cognitive - test - difficulty - claim/
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    1
            used one of the weakest medical tests of flag officer executive function imaginable to do that. An
    2
            8-year old who knows how to read the hands of a clock and do basic arithmetic could easily pass
    3
           the MoCA (again, see attached), with passage rates rising extremely high for 10, 12, and 14 year
    4

    5      olds, and we (sadly) don't even allow 14 year olds to vote. Let alone conduct major wars on the

    6      basis of their MoCA Assessment competence.

    7             The Plaintiff doesn't see us regularly commissioning military officers who have just the
    8
           minimum mental fitness of MoCA-competent 8 year olds. A person who was quite seriously
    9
           cognitively impaired at executive-grade executive function could also still pass the MoCA; I'd be

           surprised if Former President Joseph Biden couldn't pass the MoCA with strong or perfect scores
    11
           today, but would the public or the Courts want to entrust him as Commander-in-Chief for another
    12

    13     four years?

    14

    15      ARE "SYMPATHETIC, WELL-MEANING ELDERLY MEN WITH POOR MEMORY",
    16
                    AND THOSE AT RISK, QUALIFIED TO BE COMMANDER-IN-CHIEF?
    17
                  Speaking of Former President Joseph Biden, he was described by Special Counsel Robert
    18
           Hur in Hur's long investigation of Biden's misappropriation and mishandling of classified
    19

    20     documents as a person who "at trial [... ] would likely present himself to a jury, as he did during

    21     our interview of him, as a sympathetic, well-meaning, elderly man with a poor memory. 4 "

    22     Hur went on to say, "it would be difficult to convince a jury that they should convict him- by
    23
           then a former president well into his eighties-of a serious felony that requires a mental state of
    24
           willfulness." Special Counsel Hur repeatedly described the Former President Biden as a man
    25

    26
4
  2J11t oduction to the Report of the Special Counsel on the Investigation into the
Unau orized Removal , Retention , and Unauthorized Disclosure of Classified Documents .
s28c l Counsel Ben Hur . February 5 , 02024 . The US Department of Justice .
https : //www . justice . gov/storage/report - from - special - counsel - robert - k- hur - february - 202
4 . pdf
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       whose "memory was significantly limited" with "limited precision and recall". Does that sound
2
       like a man or woman at an age and health condition that the People of the United States should
3
       accept and be required to tolerate in the Commander-in-Chief role? Does that sound like a man
4

5      that the Special Counsel Hur at the Department of Justice would argue could prosecute a major

6      defensive war today or tomorrow? This evidence from the experience of President Biden's                 [
                                                                                                               I
7      doddering leadership should weigh heavily in favor of applying the plain meaning of 10 U.S.
8
        Code § 1253 to the Commander-in-Chief as an Atlassian apex military officer regularly
9
        commissioned every four years by the People of the United States, precluding men and women
10
       who reach the age range where poor memory and other sources of age-related physical decline is
11
        a common and highly predictable risk that we can't predicate our mammoth military's highest
12

13      levels of chain-of-command on.

14            If President Trump is going to cite or rely on any mental fitness test, maybe he should have

15     taken a specialized, extremely rigorous Commander-in-Chief or High Military Command edition
16
        of the ASVAB, the Armed Services Vocational Aptitude Battery, directed at testing specifically
17
        for flag officer high command candidacy. The Plaintiff is certain President Trump did not (and
18
        probably would not). But my argument is that Congress does not give him the special opportunity
19

20     to test or experience or qualify his way into the Commander-in-Chief role at his age. No amount

21     of testing or experience will "cure" Donald Trump's ineligibility at his age, due to all the

22     overwhelming risks associated with having him command our armies when he's one distractingly
23
        painful disabling kidney stone or one mental hiccup or pre-senile mental hang-up or heart clot
24
       away from imperiling and getting our soldiers and service members killed without due and
25
       adequate cause and justification.
26
              That said, it's worth noting that Trump in this election cycle refused to release any more
27

28     than a one page hyperbolic "medical assessment" from a doctor, and his doctor, Bruce Aronwald,


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         didn't release any critical specifics that would be useful to voters to truly decide whether Trump
 2                                                                                                                     I
         was medically fit versus a 64.0 year old flag officer seeking Presidential service extension. In it, it
 3
         seems clear on deeper thought and reflection that Aronwald didn't use medical standards
 4

 5       consistent with the Commander-in-Chief job that President Trump sought to be elected for, or

 6       used only the exceptionally weak, unacceptable standard of health compared to Former President

 7       Biden (and even that is doubtful) . In fact, we do not even have any reason to believe President
 8
         Trump could pass the physical fitness testing that a 40.2 year old (J.D. Vance) - 67.9 year old
 9
         (eldest allowable flag officer) year old flag officer would need to demonstrate to stay within the

         sphere of military readiness. There is no evidence yet that Donald Trump can even do 25 pushups
 11
         or run a mile in 12 minutes. He's not required to do a deadlift, a standing power throw,
 12

 13      hand-release push-ups, spring/drag/carry, planks, or two mile runs. President Trump is not

 14      required to take a military readiness fitness test twice a year like all other military officers are .

 15      The Plaintiff believes it is safe to assume that current President Trump would not even pass the
 16
         Army physical fitness test if he were to try to take it.
 17
                The Plaintiff does not believe the Commander-in-Chief can run two miles within time
 18
         limits today, as Army flag officers are required to be able to do, even up to and on the verge of
 19

 20      their retirement above age 62.0. In the Army, President Trump would need to score a minimum

 21      of 60 points on each Army Combat Fitness Test (ACFT) event, which for the two mile run would                      J




 22      correspond to a time of 23 minutes and 36 seconds as scaled for men above the age of 62.0 years               JI



 23
         old5, or roughly 11 minutes 45 seconds per mile. That's not an unrealistic standard for a healthy
 24
         and fit Commander-in-Chief. Former President George W. Bush could have passed that during his
 25
         time in office -- he was a consistently physically fit runner. With President Trump, running two
 26
         miles today under 23:36 might be far too much of a cardiac health risk to even medically
 27

          (Army Combat Fitness Test) Scoring Scale . As of March 23 , 2022 .
https : //www . goarmy . com/content/dam/goarmy/files/ACFT_scoring_scales_220323 . pdf
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l
        recommend. Arguably, he is so thoroughly age-disqualified from Army service that appropriately
2
        narrow age category scale scores don't even exist for him on the two-mile run -- does the 62.0+
3
        category safely include participation by a 78.6 year old? So how can President Trump have any
4

5       physician claim that he's in "excellent health" , vis-a-vis the standard established by 10 U.S . Code

6       § 1253 and other statutes enabling and required express and implied physical fitness standards in

7       the chain-of-command of our Armed Forces? Has anyone medically observed President Trump
8
        attempt a half-mile or quarter-mile run, let alone a two-mile run? The Plaintiff doubts the
9
        President can pass the events of his own Presidential Fitness Testing used in schools across the
10
        country. If physician medical licenses and medical malpractice liabilities were on the line, would
11
        these physicians asserting Trump's "excellent health" like Bruce Aronson, those that Trump
12

13      misleadingly used to "certify" his health in the last election, recommend or very strongly with all

14      possible force advise against a two-mile 23:36 Army Combat Fitness Test run by President

15      Trump? I think common wisdom by all physicians on Earth suggests the latter: advise against!
16
        tell the President to "stand back and stand by" (and above all, stand down) from attempting to
17
        prove combat fitness under any credible Presidential or Military Physical Fitness Test.
18
              J.D. Vance can step into Donald Trump's shoes as Commander-in-Chief immediately and
19

20      acquit himself honorably in the position. The Plaintiff wouldn't be at all surprised if J.D. Vance

21      could also pass the Army, Air Force, Navy, and Marine Combat Fitness Tests, if not immediately

22      (maybe he can) then with some very quick training within a month or two while this is being
23
        litigated and decided, before rising to take office. Please let him step up and do so for the sake of
24
        the lives of our soldiers and citizens. And if J.D. Vance chooses not to take the role of
25
        Commander-in-Chief, let the Presidency "waterfall" down through the chain-of-succession to the
26
        Speaker of the House Mike Johnson, who is also age-qualified for Commander-in-Chief, and can
27

28      also evidence what should be minimum required Armed Forces regularly commissioned officer


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        physical fitness.
2
               I acknowledge of course that we as a People might want to elect differently abled persons
3
        like United States Senator Tammy Duckworth (IL) to the Presidency some day. Tammy
4

5       Duckworth is missing both her legs and is wheel-chair bound as a result of an IED explosion

6       during her time in the military and just can't be asked or expected to run in the Army Combat

7       Fitness Test without significant adj ustment and modification. She is now medically disqualified
8
        from military service but will always be a decorated and extraordinarily respected veteran.
9
        Donald Trump does not fa ll under such an admirable category of exceptional disability, or even a
10
        qualifying category of any physical disability, to the Plaintiffs knowledge. If he still has bone
11
        spurs, those were not disclosed in his one-page medical report by Dr. Aronson reporting him to be
12

13      in "excellent" physical health, and therefore presumptively eligible for the Army Combat Fitness

14      Test or a similar military branch fitness test. Whatever bone spurs he has today, if any, they don't

15      prevent him from playing golf, and shouldn't prevent credible physicians from assessing his
16
        physical fitness relative to similarly aged strenuous physical tests that
17
        nearly-and-forced-into-retirement military flag officers must pass under 10 U.S. Code§ 1253 to
18
        have any hope of serving up to age 68 .0. Considering for instance the case of Tammy Duckworth
19

20      and other Americans with Disabilities Act (ADA) cases, the Army Combat Fitness Test can not

21      be used as a strict prequalification for each and all candidates competing for White House

22      service, but it can be used to assess the credibi lity of any claims that Donald Trump is or was in
23
        "excellent health" as he claimed when running for the Presidency or as he may claim today in
24
        seeking to retain his current position as Commander-in-Chief.
25
               One more point for declaratory relief: the chain of succession for the President and
26
        Commander-in-Chief should immediately "pass over" anyone not age-qualified to serve as
27

28      Commander-in-Chief. The President Pro Tempore of the Senate who is fourth in the chain of


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        Commander-in-Chief Succession, Senator Chuck Grassley, is 91.4 years old. Does the Court truly
2
        believe that Chuck Grassley can discharge such a heavy Atlassian responsibility as
3
        Commander-in-Chief at age 91 .4?
4

5             Please do not dismiss this case before deciding the question of age requirements in the full

6       chain of succession for the Commander-in-Chief. Please declare all members of the chain of

7       succession older than 68.0 years old to be ineligible to pick up the mantle of
8
        Commander-in-Chief, the highest "flag officer" America has and the Atlassian apex of our
9
        chain-of-command.
10
              If J.D . Vance (Vice President) and Mike Johnson (Speaker of the House) decline to pick up
11
        the Commander-in-Chief responsibility, under age qualifications it would keep waterfalling over
12

13      to the Secretary of State Marco Rubio (53.7 years old), who was recently unanimously approved

14      and acclaimed by the Senate for his role as United States Secretary of State. He would do a

15      terrific job if somehow the Presidency or Commander-in-Chief role waterfalls that far down the
16
        chain of succession if Vance and Johnson refuse to step forward. I doubt it will waterfall any
17
        further but there is no shortage of persons in the Presidential Cabinet succession plan appointed
18
        by Donald Trump if J.D. Vance, Mike Johnson, and Marco Rubio all shirk their duty and
19

20      responsibility to pick up the mantle from any age disqualification of Donald Trump.

21             Despite what Donald Trump may think, there are thousands of Americans younger than

22      Donald Trump qualified to serve as President and/or Commander-in-Chief of the United States,
23
        and many of those are very arguably more qualified and significantly healthier than Donald
24
        Trump. We do not need to be held hostage to the health risks let alone the undisclosed,
25
        uninspected but medically-knowable health problems of a 78.6 year old struggling to paint us a
26
        false picture of perfect, ageless cognitive health.
27

28            But medicine is getting better and better! Donald Trump as a billionaire has benefited


                                                    Motion
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            lifelong from the best medicine and science that money can buy.
    2
                   According to the Government, all military officers, particularly flag officers, have
    3
            benefited from the best medicine that money can buy from organizations like the VA Hospitals. If
    4

    5       that is not the case and Donald Trump has had better medical care than our one-, two-, three-,

    6       four- and five-star generals and admirals do, we should reevaluate our funding priorities.

    7              It is beyond plausible contest that the average military general or admiral is in much better
    8
            physical shape than Donald Trump, if from nothing else than by the overwhelming regularity of
    9
            their military exercise discipline. And yet, they're still obligated to strictly retire by mandatory
    10
            law at 68.0 years old.
    11
                   The Plaintiff freely acknowledges that one day perhaps in the next 75.0 years science and
    12

    13      medicine will advance to the point where Congress may need to revise 10 U.S. Code §1253 to                  I
    14      allow military service up to or beyond age 79.0 (to cover Donald Trump's instant service and                I   1



    15      further service for the next 5 months), or ever further to 100.0 or the absolute maximum
    16
            Christian, Jewish, and Muslim religiously permitted age limit of 120.06 . But we are not in such a
    17
            world of medical prowess today, and age-related physical risk and decline is too sharp to allow
    18
            President Trump to continue to serve as Commander-in-Chief. He must be precluded from further
    19

    20      service, just as President Biden should have been.

    21

    22                          GRANDFATHER'S DEATH DELAYED THIS FILING
                                                                                                                            I

    23                                                                                                                  I
                  The Plaintiffs surviving grandfather died recently on Tuesday, February 4th, 02025 CE.
    24
            This filing would have arrived to the Court sooner if that extenuating circumstance (familial
    25
            bereavement) had not occurred, particularly if the Plaintiff had had the convenience of electronic
    26
            filing access.
    27

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    6                                                            &
                                                       s/Pla· tiff John Doe, Currently Pro se
    7                                                  For the Center Forward Party of Hippocratic
    8                                                  Hands, aka the Miracle Berries

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